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This document was prepared by:

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wos. MORTGAGE a

 

DEFINITIONS ‘!

Words used in multiple sections of this document are defined\belo ai other words are defined
in Sections 3, 11, 13, 18, 20 and 21. Certain rules regarding the usage of words used in this
document are also provided in Section 16.

(A) "Security Instrument” means this document, which is dated SEPTEMBER 20, 2006 :
together with all Riders to this document.

(B) "Borrower" is EpwiN MARTINEZ AND, MIGDALIA MARTINEZ, HUSBAND AND

WIFE

Borrower is the mortgagor under this Security Instrument.
(C) "Lender" is wASHINGTON MUTUAL BANK, FA

Lender is € FEDERAL SAVINGS BANK
organized and existing under the laws of THE UNITED STATES OF AMERICA

 

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Lender's address is 2273 N. GREEN VALLEY PARKWAY, SUITE 14, HENDERSON, NV

69014
Lender is the mortgagee under this Security Instrument.

(D) "Note" means the promissory note signed by Borrower and dated SEPTEMBER 20, 2006 -

The Note states that Borrower owes Lender Two HUNDRED FIFTEEN THOUSAND AND
00/100 Dollars

(US. $ 215,000.00 ) plus interest. Borrower has promised to pay this debt in regular
Periodic Payments and to pay the debt in full not later than ocTOBER 01, 2036 .
(E) "Property" means the property that is described below under the heading “Transfer of Rights
in the Property.”

(F) "Loan" means the debt evidenced by the Note, plus interest, any prepayment charges and late
charges due under the Note, and all sums due under this Security Instrument, plus interest.

(G) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The
following Riders are to be executed by Borrower [check box as applicable]:

Adjustable Rate Rider [~ ] Condominium Rider [__] Second Home Rider
Balloon Rider [-_] Planned Unit Development Rider [_ ] 1-4 Family Rider
[_ |VA Rider [__| Biweekly Payment Rider [| Other(s) [specify]

(H) “Applicable Law" means all controlling applicable federal, state and local statutes,
regulations, ordinances and administrative rules and orders {that have the effect of law) as well as
all applicable final, non-appealable judicial opinions.

(I) "Community Association Dues, Fees, and Assessments” means all dues, fees,
assessments and other charges that are imposed on Borrower or the Property by a condominium
association, homeowners association or similar organization.

(J) "Electronic Funds Transfer” means any transfer of funds, other than a transaction
originated by check, draft, or similar paper instrument, which is initiated through an electronic
terminal, telephonic instrument, computer, or magnetic tape so as to order, instruct, or authorize
a financial institution to debit or credit an account. Such term includes, but is not limited to,
pointof-sale transfers, automated teller machine transactions, transfers initiated by telephone, wire
transfers, and automated clearinghouse transfers.

(K) "Escrow Items” means those items that are described in Section 3.

(L) "Miscellaneous Proceeds” means any compensation, settlement, award of damages, or
proceeds paid by any third party (other than insurance proceeds paid under the coverages
described in Section 5) for: (i) damage to, or destruction of, the Property; (ii) condemnation or
other taking of all or any part of the Property; (iii) conveyance in lieu of condemnation; or {iv}
misrepresentations of, or omissions as to, the value and/or condition of the Property.

(M) “Mortgage Insurance” means insurance protecting Lender against the nonpayment of, or
default on, the Loan.

(N) "Periodic Payment” means the regularly scheduled amount due for (i) principal and
interest under the Note, plus (ii) any amounts under Section 3 of this Security Instrument.

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(O) "RESPA" means the Real Estate Settlement Procedures Act (12 U'S.C. Section 2601 et seq.)
and its implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might be amended
from time to time, or any additional or successor legislation or regulation that governs the same
subject matter. As used in this Security Instrument, “RESPA" refers to all requirements and
restrictions that are imposed in regard to a “federally related mortgage loan” even if the Loan
does not qualify as a “federally related mortgage loan" under RESPA.

(P) "Successor in Interest of Borrower” means any party that has taken title to the Property,
whether or not that party has assumed Borrower’s obligations under the Note and/or this Security
Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewals,
extensions and modifications of the Note; and (ii) the performance of Borrower's covenants and
agreements under this Security Instrument and the Note. For this purpose, Borrower does hereby
mortgage, grant and convey to Lender, the following described property located in the
COUNTY of HILLSBOROUGH

(Type of Recording Jurisdiction] iName of Recording Jurisdiction]

THE LEGAL DESCRIPTION IS ATTACHED HERETO AS A SEPARATE EXHIBIT
AND IS MADE A PART HEREOF.

Parcel ID Number: 74405. 1124 which currently has the address of
3424 VALE CIR [Street]
RIVERVIEW [City], Florida 33569 (Zip Code}

("Property Address"):

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenances, and fixtures now or hereafter a part of the property. All replacements
and additions shall also be covered by this Security Instrument. All of the foregoing is referred to
in this Security Instrument as the "Property."

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BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed
and has the right to mortgage, grant and convey the Property and that the Property is
unencumbered, except for encumbrances of record. Borrower warrants and will defend generally
the title to the Property against all claims and demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and
non-uniform covenants with limited variations by jurisdiction to constitute a uniform security
instrument covering real property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Principal, Interest, Escrow Items, Prepayment Charges, and Late
Charges. Borrower shall pay when due the principal of, and interest on, the debt evidenced by the
Note and any prepayment charges and late charges due under the Note. Borrower shall also pay
funds for Escrow Items pursuant to Section 3. Payments due under the Note and this Security
Instrument shall be made in U.S. currency. However, if any check or other instrument received by
Lender as payment under the Note or this Security Instrument 1s returned to Lender unpaid,
Lender may require that any or all subsequent payments due under the Note and this Security
Instrument be made in one or more of the following forms, as selected by Lender: (a) cash; (b)
money order; (c) certified check, bank check, treasurer's check or cashier's check, provided any
such check is drawn upon an institution whose deposits are insured by a federal agency,
instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the
Note or at such other location as may be designated by Lender in accordance with the notice
provisions in Section 15. Lender may return any payment or partial payment if the payment or
partial payments are insufficient to bring the Loan current. Lender may accept any payment or
partial payment insufficient to bring the Loan current, without waiver of any rights hereunder or
prejudice to its rights to refuse such payment or partial payments in the future, but Lender is not
obligated to apply such payments at the time such payments are accepted. If each Periodic
Payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied
funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan
current. If Borrower does not do so within a reasonable period of time, Lender shall either apply
such funds or return them to Borrower. If not applied earlier, such funds will be applied to the
outstanding principal balance under the Note immediately prior to foreclosure. No offset or claim
which Borrower might have now or in the future against Lender shall relieve Borrower from
making payments due under the Note and this Security Instrument or performing the covenants
and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2,
all payments accepted and applied by Lender shall be applied in the following order of priority:
(a) interest due under the Note; (b) principal due under the Note; (c) amounts due under Section
3. Such payments shall be applied to each Periodic Payment in the order in which it became due.
Any remaining amounts shal! be applied first to late charges, second to any other amounts due
under this Security Instrument, and then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which
includes a sufficient amount to pay any late charge due, the payment may be applied to the
delinquent payment and the late charge. If more than one Periodic Payment is outstanding, Lender
may apply any payment received from Borrower to the repayment of the Periodic Payments if,
and to the extent that, each payment can be paid in full. To the extent that any excess exists after
the payment is applied to the ful] payment of one or more Periodic Payments, such excess may be

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applied to any late charges due. Voluntary prepayments shall be applied first to any prepayment
charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due
under the Note shall not extend or postpone the due date, or change the amount, of the Periodic

ay ments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments
are due under the Note, until the Note is paid in full, a sum (the "Funds”) to provide for payment
of amounts due for: (a) taxes and assessments and other items which can attain priority over this
Security Instrument as a lien or encumbrance on the Property; (b) leasehold payments or ground
rents on the Property, if any; (c) premiums for any and all insurance required by Lender under
Section 5: and (d} Mortgage Insurance premiums, if any, or any sums payable by Borrower to
Lender in lieu of the payment of Mortgage Insurance premiums in accordance with the provisions
of Section 10. These items are called "Escrow Items.” At origination or at any time during the
term of the Loan, Lender may require that Community Association Dues, Fees, and Assessments,
if any, be escrowed by Borrower, and such dues, fees and assessments shall be an Escrow Item.
Borrower shall promptly furnish to Lender all notices of amounts to be paid under this Section.
Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's
obligation to pay the Funds for any or all Escrow Items. Lender may waive Borrower's obligation
to pay to Lender Funds for any or all Escrow Items at any time, Any such waiver may only be in
writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the
amounts due for any Escrow Items for which payment of Funds has been waived by Lender and,
if Lender requires, shall furnish to Lender receipts evidencing such payment within such time
period as Lender may require. Borrower's obligation to make such payments and to provide
receipts shall for all purposes be deemed to be a covenant and agreement contained in this
Security Instrument, as the phrase "covenant and agreement” is used in Section 9. If Borrower is
obligated to pay Escrow Items directly, pursuant to a waiver, and Borrower fails to pay the
amount due for an Escrow Item, Lender may exercise its rights under Section 9 and pay such
amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
amount. Lender may revoke the waiver as to any or all Escrow Items at any time by a notice
given in accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all
Funds, and in such amounts, that are then required under this Section 3.

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit
Lender to apply the Funds at the time specified under RESPA, and (b} not to exceed the
maximum amount a lender can require under RESPA. Lender shall estimate the amount of Funds
due on the basis of current data and reasonable estimates of expenditures of future Escrow Items
or otherwise in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity {including Lender, if Lender is an institution whose deposits are so
insured) or in any Federat Home Loan Bank, Lender shall apply the Funds to pay the Escrow
Items no later than the time specified under RESPA. Lender shall not charge Borrower for
holding and applying the Funds, annually analyzing the escrow account, or verifying the Escrow
Items, untess Lender pays Borrower interest on the Funds and Applicable Law permits Lender to
make such a charge. Unless an agreement is made in writing or Applicable Law requires interest
to be paid on the Funds, Lender shall not be required to pay Borrower any interest or earnings on
the Funds. Borrower and Lender can agree in writing, however, that interest shall be paid on the
Funds. Lender shall give to Borrower, without charge, an annual accounting of the Funds as

required by RESPA.

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If there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account
to Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held
in escrow, as defined under RESPA, Lender shal! notify Borrower as required by RESPA, and
Borrower shall pay to Lender the amount necessary to make up the shortage in accordance with
RESPA, but in no more than 12 monthly payments. If there is a deficiency of Punds held in
escrow, as defined under RESPA, Lender shall notify Borrower as required by RESPA, and
Borrower shall pay to Lender the amount necessary to make up the deficiency in accordance with
RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly
refund to Borrower any Funds held by Lender.

4, Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold
payments or ground rents on the Property, if any, and Community Association Dues, Fees, and
Assessments, if any. To the extent that these items are Escrow Items, Borrower shall pay them in
the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument
unless Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a
manner acceptable to Lender, but only so long as Borrower is performing such agreement; {b)
contests the lien in good faith by, or defends against enforcement of the lien in, legal proceedings
which in Lender’s opinion operate to prevent the enforcement of the lien while those proceedings
are pending, but only until such proceedings are concluded; or {c) secures from the holder of the
lien an agreement satisfactory to Lender subordinating the lien to this Security Instrument. If
Lender determines that any part of the Property is subject to a lien which can attain priority over
this Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10 days
of the date on which that notice is given, Borrower shall satisfy the lien or take one or more of
the actions set forth above in this Section 4,

Lender may require Borrower to pay a one-time charge for a real estate tax verification
and/or reporting service used by Lender in connection with this Loan,

5. Property Insurance. Borrower shall keep the improvements now existing or hereafter
erected on the Property insured against loss by fire, hazards included within the term "extended
coverage,” and any other hazards including, but not limited to, earthquakes and floods, for which
Lender requires insurance. This insurance shall be maintained in the amounts {including
deductible levels) and for the periods that Lender requires. What Lender requires pursuant to the
preceding sentences can change during the term of the Loan. The insurance carrier providing the
insurance shall be chosen by Borrower subject to Lender’s right to disapprove Borrower’s choice,
which right shall not be exercised unreasonably. Lender may require Borrower to pay, in
connection with this Loan, either: (a) a one-time charge for flood zone determination, certification
and tracking services; or (b) a one-time charge for flood zone determination and certification
services and subsequent charges each time remappings or similar changes occur which reasonably
might affect such determination or certification. Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Management Agency in connection with
the review of any flood zone determination resulting from an objection by Borrower.

If Borrower fails to maintain any of the coverages described above, Lender may obtain
insurance coverage, at Lender's option and Borrower's expense. Lender is under no obligation to
purchase any particular type or amount of coverage, Therefore, such coverage shall cover Lender,
but might or might not protect Borrower, Borrower's equity in the Property, or the contents of

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the Property, against any risk, hazard or liability and might provide greater or lesser coverage
than was previously in effect. Borrower acknowledges that the cost of the insurance coverage so
obtained might significantly exceed the cost of insurance that Borrower could have obtained. Any
amounts disbursed by Lender under this Section 5 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear interest at the Note rate from the
date of disbursement and shall be payable, with such interest, upon notice from Lender to
Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to
Lender’s right to disapprove such policies, shall include a standard mortgage clause, and shall
name Lender as mortgagee and/or as an additional loss payee. Lender shall have the right to hold
the policies and renewal certificates. If Lender requires, Borrower shall promptly give to Lender
all receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance
coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such
policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an
additional loss payee.

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender.
Lender may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower
otherwise agree in writing, any insurance proceeds, whether or not the underlying insurance was
required by Lender, shall be applied to restoration or repair of the Property, if the restoration or
repair is economically feasible and Lender's security is not lessened. During such repair and
restoration period, Lender shall have the right to hold such insurance proceeds until Lender has
had an opportunity to inspect such Property to ensure the work has been completed to Lender’s
satisfaction, provided that such inspection shall be undertaken promptly. Lender may disburse
proceeds for the repairs and restoration in a single payment or in a series of progress payments as
the work is completed. Unless an agreement is made in writing or Applicable Law requires
interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceeds. Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of
Borrower. If the restoration or repair is not economically feasible or Lender’s security would be
lessened, the insurance proceeds shall be applied to the sums secured by this Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower. Such insurance proceeds shall
be applied in the order provided for in Section 2.

It Borrower abandons the Property, Lender may file, negotiate and settle any available
insurance claim and related matters. If Borrower does not respond within 30 days to a notice
from Lender that the insurance carrier has offered to settle a claim, then Lender may negotiate
and settle the claim. The 30-day period will begin when the notice is given. In either event, or if
Lender acquires the Property under Section 22 or otherwise, Borrower hereby assigns to Lender
(a) Borrower's rights to any insurance proceeds in an amount not to exceed the amounts unpaid
under the Note or this Security Instrument, and (b) any other of Borrower's rights (other than the
right to any refund of unearned premiums paid by Borrower) under all insurance policies
covering the Property, insofar as such rights are applicable to the coverage of the Property. Lender
may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid
under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's
principal residence within 60 days after the execution of this Security Instrument and shall
continue to occupy the Property as Borrower’s principal residence for at least one year after the

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date of occupancy, unless Lender otherwise agrees in writing, which consent shall not be
unreasonably withheld, or unless extenuating circumstances exist which are beyond Borrower's
control.

7, Preservation, Maintenance and Protection of the Property; Inspections. Borrower
shall not destroy, damage or impair the Property, allow the Property to deteriorate or commit
waste on the Property. Whether or not Borrower is residing in the Property, Borrower shall
maintain the Property in order to prevent the Property from deteriorating or decreasing in value
due to its condition. Unless it is determined pursuant to Section 5 that repair or restoration is not
economically feasible, Borrower shall promptly repair the Property if damaged to avoid further
deterioration or damage. If insurance or condemnation proceeds are paid in connection with
damage to, or the taking of, the Property, Borrower shall be responsible for repairing or restoring
the Property only if Lender has released proceeds for such purposes. Lender may disburse
proceeds for the repairs and restoration in a single payment or ina series of progress payments as
the work is completed. If the insurance or condemnation proceeds are not sufficient to repair or
restore the Property, Borrower is not relieved of Borrower’s obligation for the completion of such
repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. If it
has reasonable cause, Lender may inspect the interior of the improvements on the Property.
Lender shall give Borrower notice at the time of or prior to such an interior inspection specifying
such reasonable cause.

8. Borrower's Loan Application. Borrower shall be in default if, during the Loan
application process, Borrower or any persons or entities acting at the direction of Borrower or
with Borrower’s knowledge or consent gave materially false, misleading, or inaccurate
information or statements to Lender (or failed to provide Lender with material information) in
connection with the Loan. Material representations include, but are not limited to, representations
concerning Borrower's occupancy of the Property as Borrower's principal residence.

9. Protection of Lender’s Interest in the Property and Rights Under this Security
Instrument. If (a) Borrower fails to perform the covenants and agreements contained in this
Security Instrument, (b) there is a legal proceeding that might significantly affect Lender's interest
in the Property and/or rights under this Security Instrument {such as a proceeding in bankruptcy,
probate, for condemnation or forfeiture, for enforcement of a lien which may attain priority over
this Security Instrument or to enforce laws or regulations), or (c) Borrower has abandoned the
Property, then Lender may do and pay for whatever is reasonable or appropriate to protect
Lender’s interest in the Property and rights under this Security Instrument, including protecting
and/or assessing the value of the Property, and securing and/or repairing the Property. Lender’s
actions can include, but are not limited to: (a) paying any sums secured by a lien which has
priority over this Security Instrument; (b) appearing in court; and ({c) paying reasonable attorneys’
fees to protect its interest in the Property and/or rights under this Security Instrument, including
its secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited
to, entering the Property to make repairs, change locks, replace or board up doors and windows,
drain water from pipes, eliminate building or other code violations or dangerous conditions, and
have utilities turned on or off. Although Lender may take action under this Section 9, Lender does
not have to do so and is not under any duty or obligation to do so. It is agreed that Lender incurs
no liability for not taking any or all actions authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of
Borrower secured by this Security Instrument. These amounts shall bear interest at the Note rate

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from the date of disbursement and shall be payable, with such interest, upon notice from Lender
to Borrower requesting payment.

If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions
of the lease. If Borrower acquires fee title to the Property, the leasehold and the fee title shall not
merge unless Lender agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making
the Loan, Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect.
If, for any reason, the Mortgage Insurance coverage required by Lender ceases to be available from
the mortgage insurer that previously provided such insurance and Borrower was required to make
separately designated payments toward the premiums for Mortgage Insurance, Borrower shall pay
the premiums required to obtain coverage substantially equivalent to the Mortgage Insurance
previously in effect, at a cost substantially equivalent to the cost to Borrower of the Mortgage
Insurance previously in effect, from an alternate mortgage insurer selected by Lender. if
substantially equivalent Mortgage Insurance coverage is not available, Borrower shall continue to
pay to Lender the amount of the separately designated payments that were due when the insurance
coverage ceased to be in effect. Lender will accept, use and retain these payments as a
non-refundable loss reserve in lieu of Mortgage Insurance. Such loss reserve shall be
non-refundable, notwithstanding the fact that the Loan is ultimately paid in full, and Lender shall
not be required to pay Borrower any interest or earnings on such loss reserve. Lender can no
longer require loss reserve payments if Mortgage Insurance coverage {in the amount and for the
period that Lender requires) provided by an insurer selected by Lender again becomes available, 1s
obtained, and Lender requires separately designated payments toward the premiums for Mortgage
Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and
Borrower was required to make separately designated payments toward the premiums for
Mortgage Insurance, Borrower shall pay the premiums required to maintain Mortgage Insurance
in effect, or to provide a nontrefundable loss reserve, until Lender's requirement for Mortgage
Insurance ends in accordance with any written agreement between Borrower and Lender providing
for such termination or until termination is required by Applicable Law. Nothing in this Section
10 affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage Insurance reimburses Lender (or any entity that purchases the Note} for certain
losses it may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the
Mortgage Insurance.

Mortgage insurers evaluate their total risk on all such insurance in force from time to time,
and may enter into agreements with other parties that share or modify their risk, or reduce losses.
These agreements are on terms and conditions that are satisfactory to the mortgage insurer and
the other party (or parties) to these agreements. These agreements may require the mortgage
insurer to make payments using any source of funds that the mortgage insurer may have available
(which may include funds obtained from Mortgage Insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any
reinsurer, any other entity, or any affiliate of any of the foregoing, may receive (directly or
indirectly) amounts that derive from {or might be characterized as) a portion of Borrower’s
payments for Mortgage Insurance, in exchange for sharing or modifying the mortgage insurer's
risk, or reducing losses. If such agreement provides that an affiliate of Lender takes a share of the
insurer's risk in exchange for a share of the premiums paid to the insurer, the afrangement is
often termed "captive reinsurance,” Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to
pay for Mortgage Insurance, or any other terms of the Loan. Such agreements will not
increase the amount Borrower will owe for Mortgage Insurance, and they will not entitle
Borrower to any refund.

(b) Any such agreements will not affect the rights Borrower has - if any - with
respect to the Mortgage Insurance under the Homeowners Protection Act of 1998 or any

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other law. These rights may include the right to receive certain disclosures, to request
and obtain cancellation of the Mortgage Insurance, to have the Mortgage Insurance
terminated automatically, and/or to receive a refund of any Mortgage Insurance
premiums that were unearned at the time of such cancellation or termination.

11. Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are
hereby assigned to and shall be paid to Lender.

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or
repair of the Property, if the restoration or repair is economically feasible and Lender’s security is
not lessened. During such repair and restoration period, Lender shall have the right to hold such
Miscellaneous Proceeds until Lender has had an opportunity to inspect such Property to ensure
the work has been completed to Lender’s satisfaction, provided that such inspection shall be
undertaken promptly. Lender may pay for the repairs and restoration in a single disbursement or
in a series of progress payments as the work is completed. Unless an agreement is made in
writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds, Lender
shall not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If
the restoration or repair is not economically feasible or Lender's security would be lessened, the
Miscellaneous Proceeds shall be applied to the sums secured by this Security Instrument, whether
or not then due, with the excess, iP any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2.

In the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security Instrument, whether or not then
due, with the excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair
market value of the Property immediately before the partial taking, destruction, or loss in value is
equal to or greater than the amount of the sums secured by this Security Instrument immediately
before the partial taking, destruction, or loss in value, unless Borrower and Lender otherwise
agree in writing, the sums secured by this Security Instrument shall be reduced by the amount of
the Miscellaneous Proceeds multiplied by the following fraction: (a) the total amount of the sums
secured immediately before the partial taking, destruction, or loss in value divided by (b) the fair
market value of the Property immediately before the partial taking, destruction, or loss in value.
Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair
market value of the Property immediately before the partial taking, destruction, or loss in value is
less than the amount of the sums secured immediately before the partial taking, destruction, or
loss in value, unless Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds
shall be applied to the sums secured by this Security Instrument whether or not the sums are then
due.

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentence) offers to make an award to settle a claim for
damages, Borrower fails to respond to Lender within 30 days after the date the notice is given,
Lender is authorized to collect and apply the Miscellaneous Proceeds either to restoration or
repair of the Property or to the sums secured by this Security Instrument, whether or not then
due, "Opposing Party” means the third party that owes Borrower Miscellaneous Proceeds or the
party against whom Borrower has a right of action in regard to Miscellaneous Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun
that, in Lender's judgment, could result _in forfeiture of the Property or other material
impairment of Lender’s interest in the Property or rights under this Security Instrument.
Borrower can cure such a default and, if acceleration has occurred, reinstate as provided in Section
19, by causing the action or proceeding to be dismissed with a ruling that, in Lender’s judgment,
precludes forfeiture of the Property or other material impairment of Lender’s interest in the

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Property or rights under this Security Instrument. The proceeds of any award or claim for
damages that are attributable to the impairment of Lender's interest in the Property are hereby
assigned and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall
be applied in the order provided for in Section 2.

12. Borrower Not Released: Forbearance By Lender Not a Waiver. Extension of the
time for payment or modification of amortization of the sums secured by this Security
Instrument granted by Lender to Borrower or any Successor in Interest of Borrower shall not
operate to release the liability of Borrower or any Successors in Interest of Borrower. Lender shall
not be required to commence proceedings against any Successor in Interest of Borrower or to
refuse to extend time for payment or otherwise modify amortization of the sums secured by this
Security Instrument by reason of any demand made by the original Borrower or any Successors in
Interest of Borrower. Any forbearance by Lender in exercising any right or remedy including,
without limitation, Lender's acceptance of payments from third persons, entities or Successors in
Interest of Borrower or in amounts less than the amount then due, shail not be a waiver of or
preclude the exercise of any right or remedy.

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower
covenants and agrees that Borrower’s obligations and liability shall be joint and several. However,
any Borrower who covsigns this Security Instrument but does not execute the Note (a "covsigner"):
(a) is covsigning this Security Instrument only to mortgage, grant and convey the co“signer’s
interest in the Property under the terms of this Security Instrument; (b) is not personally
obligated to pay the sums secured by this Security Instrument; and (c) agrees that Lender and any
other Borrower can agree to extend, modify, forbear or make any accommodations with regard to
the terms of this Security Instrument or the Note without the co-signer's consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrower who assumes
Borrower's obligations under this Security Instrument in writing, and is approved by Lender, shall
obtain all of Borrower's rights and benefits under this Security Instrument. Borrower shall not be
released from Borrower’s obligations and liability under this Security Instrument unless Lender
agrees to such release in writing. The covenants and agreements of this Security Instrument shall
bind (except as provided in Section 20) and benefit the successors and assigns of Lender.

14, Loan Charges. Lender may charge Borrower fees for services performed in connection
with Borrower's default, for the purpose of protecting Lender's interest in the Property and rights
under this Security Instrument, including, but not limited to, attorneys’ fees, property inspection
and valuation fees. In regard to any other fees, the absence of express authority in this Security
Instrument to charge a specific fee to Borrower shall not be construed as a prohibition on the
charging of such fee. Lender may not charge fees that are expressly prohibited by this Security
Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that law is finally
interpreted so that the interest or other loan charges collected or to be collected in connection
with the Loan exceed the permitted limits, then: (al any such loan charge shall be reduced by the
amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected
from Borrower which exceeded permitted limits will be refunded to Borrower. Lender may
choose to make this refund by reducing the principal owed under the Note or by making a direct
payment to Borrower. If a refund reduces principal, the reduction will be treated as a partial
prepayment without any prepayment charge (whether or not a prepayment charge is provided for
under the Note). Borrower’s acceptance of any such refund made by direct payment to Borrower
will constitute a waiver of any right of action Borrower might have arising out of such
overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security
Instrument must be in writing. Any notice to Borrower in connection with this Security

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Instrument shall be deemed to have been given to Borrower when mailed by first class mail or
when actually delivered to Borrower's notice address if sent by other means. Notice to any one
Borrower shall constitute notice to all Borrowers unless Applicable Law expressly requires
otherwise. The notice address shall be the Property Address unless Borrower has designated a
substitute notice address by notice to Lender. Borrower shall promptly notify Lender of
Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change of
address, then Borrower shall only report a change of address through that specified procedure.
There may be only one designated notice address under this Security Tastrument at any one time.
Any notice to Lender shall be given by delivering it or by mailing it by first class mail to
Lender’s address stated herein unless Lender has designated another address by notice to
Borrower. Any notice in connection with this Security Instrument shall not be deemed to have
been given to Lender until actually received by Lender. If any notice required by this Security
Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy the
corresponding requirement under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall
be governed by federal law and the law of the jurisdiction in which the Property is located. All
rights and obligations contained in this Security Instrument are subject to any requirements and
limitations of Applicable Law. Applicable Law might explicitly or implicitly allow the parties to
agree by contract or it might be silent, but such silence shall not be construed as a prohibition
against agreement by contract. In the event that any provision or clause of this Security
Instrument or the Note conflicts with Applicable Law, such conflict shall not affect other
provisions of this Security Instrument or the Note which can be given effect without the
conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shall mean and
include corresponding neuter words or words of the feminine gender; (b} words in the singular
shall mean and include the plural and vice versa; and (c) the word “may” gives sole discretion
without any obligation to take any action.

17, Borrower's Copy. Borrower shall be given one copy of the Note and of this Security
Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower, As used in this
Section 18, "Interest in the Property” means any legal or beneficial interest in the Property,
including, but not limited to, those beneficial interests transferred in a bond for deed, contract for
deed, installment sales contract or escrow agreement, the intent of which is the transfer of title by
Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or transferred (or if
Borrower is not a natural person and a beneficial interest in Borrower is sold or transferred)
without Lender’s prior written consent, Lender may require immediate payment in full of all
sums secured by this Security Instrument. However, this option shall not be exercised by Lender
if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice
shall provide a period of not less than 30 days from the date the notice is given in accordance with
Section 15 within which Borrower must pay all sums secured by this Security Instrument. If
Borrower fails to pay these sums prior to the expiration of this period, Lender may invoke any
remedies permitted by this Security Instrument without further notice or demand on Borrower.

19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain
conditions, Borrower shall have the right to have enforcement of this Security Instrument
discontinued at any time prior to the earliest of: (a) five days before sale of the Property pursuant
to any power of sale contained in this Security Instrument, (b} such other period as Applicable
Law might specify for the termination of Borrower's right to reinstate; or (c) entry of a judgment
enforcing this Security Instrument. Those conditions are that Borrower: (a) pays Lender all sums

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which then would be due under this Security Instrument and the Note as if no acceleration had
occurred: {b) cures any default of any other covenants or agreements, (c) pays all expenses
incurred in enforcing this Security Instrument, including, but not limited to, reasonable attorneys’
fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting
Lender's interest in the Property and rights under this Security Instrument; and (d) takes such
action as Lender may reasonably require to assure that Lender’s interest in the Property and rights
under this Security Instrument, and Borrower's obligation to pay the sums secured by this
Security Instrument, shali continue unchanged. Lender may require that Borrower pay such
reinstatement sums and expenses in one or more of the following forms, as selected by Lender:
{a) cash; (b) money order; (c) certified check, bank check, treasurer’s check or cashier's check,
provided any such check is drawn upon an institution whose deposits are insured by a federal
agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by
Borrower, this Security Instrument and obligations secured hereby shall remain fully effective as
if no acceleration had occurred. However, this right to reinstate shall not apply in the case of
acceleration under Section 18.

20. Sale of Note; Change of Loan Servicer; Notice of Grievance. The Note or a partial
interest in the Note (together with this Security Instrument) can be sold one or more times
without prior notice to Borrower. A sale might result in a change in the entity (known as the
“Loan Servicer") that collects Periodic Payments due under the Note and this Security Instrument
and performs other mortgage loan servicing obligations under the Note, this Security Instrument,
and Applicable Law. There also might be one or more changes of the Loan Servicer unrelated to a
sale of the Note. If there is a change of the Loan Servicer, Borrower will be given written notice of
the change which will state the name and address of the new Loan Servicer, the address to which
payments should be made and any other information RESPA requires in connection with a notice
of transfer of servicing. If the Note is sold and thereafter the Loan is serviced by a Loan Servicer
other than the purchaser of the Note, the mortgage loan servicing obligations to Borrower will
remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not assumed
by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action {as
either an individual litigant or the member of a class) that arises from the other party’s actions
pursuant to this Security Instrument or that alleges that the other party has breached any
provision of, or any duty owed by reason of, this Security Instrument, until such Borrower or
Lender has notified the other party (with such notice given in compliance with the requirements
of Section 15) of such alleged breach and afforded the other party hereto a reasonable period after
the giving of such notice to take corrective action. If Applicable Law provides a time period
which must elapse before certain action can be taken, that time period will be deemed to be
reasonable for purposes of this paragraph. The notice of acceleration and opportunity to cure
given to Borrower pursuant to Section 22 and the notice of acceleration given to Borrower
pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Section 20.

91. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are
those substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental
Law and the following substances: gasoline, kerosene, other flammable or toxic petroleum
products, toxic pesticides and herbicides, volatile solvents, materials containing asbestos or
formaldehyde, and radioactive materials; {b) "Environmental Law” means federal laws and laws
of the jurisdiction where the Property is located that relate to health, safety or environmental
protection; {c) "Environmental Cleanup" includes any response action, remedial action, or
removal action, as defined in Environmental Law; and (d) an "Environmental Condition” means
a condition that can cause, contribute to, or otherwise trigger an Environmental Cleanup.

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Borrower shall not cause or permit the presence, use, disposal, storage, or release of any
Hazardous Substances, or threaten to release any Hazardous Substances, on or in the Property.
Borrower shall not do, nor allow anyone else to do, anything affecting the Property (a) that is in
violation of any Environmental Law, (b) which creates an Environmental Condition, or (c}
which, due to the presence, use, or release of a Hazardous Substance, creates a condition that
adversely affects the value of the Property. The preceding two sentences shall not apply to the
presence, use, or storage on the Property of small quantities of Hazardous Substances that are
generally recognized to be appropriate to normal residential uses and to maintenance of the
Property (including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand,
lawsuit or other action by any governmental or regulatory agency or private party involving the
Property and any Hazardous Substance or Environmental Law of which Borrower has actual
knowledge, (b) any Environmental Condition, including but not limited to, any spilling, leaking,
discharge, release or threat of release of any Hazardous Substance, and (c) any condition caused by
the presence, use or release of a Hazardous Substance which adversely affects the value of the
Property. If Borrower learns, or is notified by any governmental or regulatory authority, or any
private party, that any removal or other remediation of any Hazardous Substance affecting the
Property is necessary, Borrower shall promptly take all necessary remedial actions in accordance
with Environmental Law. Nothing herein shall create any obligation on Lender for an
Environmental Cleanup.

' NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as
ollows:

22 Acceleration; Remedies. Lender shall give notice to Borrower prior to
acceleration following Borrower's breach of any covenant or agreement in this Security
Instrument (but not prior to acceleration under Section 18 unless Applicable Law
provides otherwise), The notice shall specify: (a) the default; (b) the action required to
cure the default; (c) a date, not less than 30 days from the date the notice is given to
Borrower, by which the default must be cured; and (d} that failure to cure the default on
or before the date specified in the notice may result in acceleration of the sums secured
by this Security Instrument, foreclosure by judicial proceeding and sale of the Property.
The notice shail further inform Borrower of the right to reinstate after acceleration and
the right to assert in the foreclosure proceeding the non-existence of a default or any
other defense of Borrower to acceleration and foreclosure. If the default is not cured on
or before the date specified in the notice, Lender at its option may require immediate
payment in full of all sums secured by this Security Instrument without further demand
and may foreclose this Security Instrument by judicial proceeding. Lender shall be
entitled to collect all expenses incurred in pursuing the remedies provided in this Section
22, including, but not limited to, reasonable attorneys’ fees and costs of title evidence.

23. Release. Upon payment of all sums secured by this Security Instrument, Lender shall
release this Security Instrument. Borrower shall pay any recordation costs. Lender may charge
Borrower a fee for releasing this Security Instrument, but only if the fee is paid to a third party
for services rendered and the charging of the fee is permitted under Applicable Law.

24. Attorneys’ Fees. As used in this Security Instrument and the Note, “attorneys’ fees”
shalt include those awarded by an appellate court and any attorneys’ fees incurred in a bankruptcy
proceeding.

25. Jury Trial Waiver. The Borrower hereby waives any right to a trial by jury in any
action, proceeding, claim, or counterclaim, whether in contract or tort, at law or in equity, arising
out of or in any way related to this Security Instrument or the Note,

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BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained
in this Security Instrument and in any Rider executed by Borrower and recorded with it.

Signed, sealed and delivered in the presence of:

witness: Quprada Woy
LU.
BRIDGETTE E. DUPERRAULT

(Seal)

-Borrower

 

(Address)

(Seal)

-Borrower

 

(Address)

(Seal)

-Borrower

 

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STATE OF FLORIDA, — HILLSBOROUGH County ss:

The foregoing instrument was acknowledged before me this Yptem ve VY DO ; 200V

by EDWIN MARTINEZTAMIGDALIA MARTINEZ \wusbewd ard Oise,

who is personally known to me or who has produced ow ive iS \\ LNs identification.

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Exhibit "A"

Lot 12, Block 1, Ivy Estates Unit No 2, as per plat thereof, recorded in Plat Book 45, Page 74, of the Public
Records of Hillsborough County, Florida
